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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

                                  FILED ELECTRONICALLY

HENRY J. KAPLAN, M.D.     )
                          )
          PLAINTIFF       )
                          )
v.                        )                   CIVIL ACTION NO. 3:19-CV-00825-CRS
                          )
UNIVERSITY OF LOUISVILLE )
And TONI M. GANZEL, M.D., )
And RONALD I. PAUL And    )
GREGORY C. POSTEL, M.D.   )
                          )
          DEFENDANTS      )

                 AGREED ORDER EXTENDING DEFENDANTS’ TIME
                  TO REPLY IN SUPPORT OF MOTION TO DISMISS

       Plaintiff Henry J. Kaplan and Defendants University of Louisville, Toni M. Ganzel, Ronald

I. Paul, and Gregory C. Postel, by counsel, have agreed that the Defendants may have fourteen (14)

additional days to file a reply in support of their pending Motion to Dismiss (ECF No. 6).

Accordingly, pursuant to Local Rule 7.1(b), and the Court being otherwise sufficiently advised,

       IT IS HEREBY ORDERED that the Defendants’ deadline to reply in support of their

pending Motion to Dismiss is EXTENDED to Friday, February 14, 2020.
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AGREED TO AND TENDERED BY:


/s/ Matthew Barszcz
Donna King Perry
Matthew Barszcz
Chase M. Cunningham
DINSMORE & SHOHL LLP
101 South Fifth Street, Suite 2500
Louisville, Kentucky 40202
Telephone: (502) 581-8000
Facsimile: (502) 581-8111
Donna.Perry@dinsmore.com
Matthew.Barszcz@dinsmore.com
Chase.Cunningham@dinsmore.com
Counsel for Defendants


/s/ Kevin L. Chlarson (with permission)
Dennis D. Murrell
Kevin L. Chlarson
Katherine T. Reisz
MIDDLETON REUTLINGER
401 South Fourth Street, Suite 2600
Louisville, Kentucky 40202
Telephone: (502) 584-1135
Facsimile: (502) 561-0442
dmurrell@middletonlaw.com
kchlarson@middletonlaw.com
kreisz@middletonlaw.com
Counsel for Plaintiff




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